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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 23-20073-CIV-ALTONAGA/Damian

  FLORAL LOGISTICS OF MIAMI, INC.,

         Plaintiff,
  v.

  NEW YORK GARDEN FLOWER
  WHOLESALE, INC.; et al.,

        Defendants.
  ____________________________________/

                             ORDER SCHEDULING MEDIATION

         The mediation conference in this matter shall be held with Stanford Blake of Stanford

  Blake Mediation, on July 20, 2023 at 9:30 AM to be held via Zoom Remote Conference. The

  parties are reminded that a report of the mediation is due within seven (7) days of the mediation

  conference.

         ENTERED this 10th day of February, 2023.


                                              ________________________________________
                                              CECILIA M. ALTONAGA
                                              CHIEF UNITED STATES DISTRICT JUDGE


  cc:    counsel of record
